DATE: April 5, 2022


             The following cases in which the Court of Appeals issued published opinions have been
      appealed to the Supreme Court:

          1. Gregory Leon Hammer
             v. Commonwealth of Virginia
             Record No. 0819-20-3
             Opinion rendered by Judge Raphael on
              January 18, 2022

          2. Gregory Leon Hammer
             v. Commonwealth of Virginia
             Record No. 1033-20-3
             Opinion rendered by Judge Raphael on
              January 18, 2022

          3. Todd Moses Sorrell, Sr.
             v. Commonwealth of Virginia
             Record No. 0198-21-2
             Opinion rendered by Chief Judge Decker on
              January 18, 2022

          4. C. Ray Davenport, Commissioner of Labor and Industry
             v. Utility Trailer Manufacturing Company
             Record No. 0285-21-3
             Opinion rendered by Judge Humphreys on
              January 18, 2022

          5. Dawan Anthony Glass
             v. Commonwealth of Virginia
             Record No. 0294-21-3
             Opinion rendered by Judge Ortiz on
              January 18, 2022
6. Dwayne Allen Ray
   v. Commonwealth of Virginia
   Record No. 0808-20-3
   Opinion rendered by Judge AtLee on
    February 1, 2022

7. Lucas Edward Ritchie
   v. Commonwealth of Virginia
   Record No. 0204-21-3
   Opinion rendered by Judge Fulton on
    February 8, 2022

8. Rodney Massie
   v. Commonwealth of Virginia
   Record No. 0282-21-4
   Opinion rendered by Judge Russell on
    February 8, 2022
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Jessica Danielle Barrow
    v. Commonwealth of Virginia
   Record No. 0769-20-3
    Opinion rendered by Judge Petty
     on April 27, 2021
    Refused (210510)

2. Michael Moreno, s/k/a Michel Moreno
   v. Commonwealth of Virginia
   Record No. 1801-19-4
   Opinion rendered by Judge Athey
    on June 15, 2021
   Refused (210672)

3. Moussa Moise Haba
   v. Commonwealth of Virginia
   Record No. 0256-20-4
   Opinion rendered by Chief Judge Decker
    on June 15, 2021
   Refused (210678)
